               Case 3:11-cr-01509-H                      Document 77               Filed 05/11/12               PageID.216               Page 1 of 2


      'I'oAO 245B (CASD) (Rev, 12111) Judgment in a Criminal Case
                 Sheet I
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                                                UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                                    12 HAY 11 PM
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                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL'(;ASE
                                          v.                                        (For Offenses Committed On or After ~~~em~~7)
                      LAZARO TAPIA-PACHECO (2)                                      Case Number: llCR1509-H
                                                                                     Sylvia A. Baiz
                                                                                                                                           r-                             DEPUT'




                                                                                    Defendant's Attorney
     REGISTRAHON NO. 25343-298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) _1_,_2,_a_n_d_3_0_f_t_h_e_In_d_ic_tm_e_n_t._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                               Count
     Title & Section                           Nature of Offense                                                                              Number(s)
18 USC 371;
8 USC 1324(a)(2)(B)(ii)                CONSPIRACY TO BRING IN ILLEGAL ALIENS FOR FINANCIAL GAIN


8 USC I 324(a)(2)(B)(ii);
18 USC 2                               BRINGING IN ILLEGAL ALIENS FOR FINANCIAL GAIN                                                          2,3




        The defendant is sentenced as provided in pages 2 through                 _2___ ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
  181 Count(s) 4 of the Indictment                    -------------------------------------
                                                                is 181 areD dismissed on the motion ofthe United States.
  181 Assessment: $300,00 ($100.00 per count) waived.

  181 Fine waived                                      D Forfeiture pursuant to order filed                                     , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                                MAY 7, 2012
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                                                                                   lmposltlon f Sentence
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AO 245B (CASD) (Rev. 12(11) Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                            Judgment - Page _ _
                                                                                                              2_    of    _ _..:2~_ _
 DEFENDANT: LAZARO TAPIA-PACHECO (2)
 CASE NUMBER: llCR1509.H
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         COUNT 1: 21 MONTHS.
         COUNT 2: 21 MONTHS TO RUN CONCURRENT WITH ALL COUNTS.
         COUNT 3: 21 MONTHS TO RUN CONCURRENT WITH ALL COUNTS.

    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons;


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.     Dp.m.         on
               as notified by the United States Marshal.

    o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ----------------------------------------------------------------
          o as    notified by the United States Marshal.
          o as    notified by the Probation or Pretrial Services Office.



                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at ________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL

                                                                      By ____________________________
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                         llCR1509-H
